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SOUTHERN DISTRICT OF NEW YORK
----------------------------------x
UNITED STATES OF AMERICA          :
                                  :
          -v-                     :              17 Cr. 357 (LAK)
                                  :
DAVID BLASZCZAK et al.,           :
          Defendants.             :
----------------------------------x




               MEMORADNUM OF LAW IN SUPPORT OF
             DAVID BLASZCZAK’S MOTION FOR SEVERANCE




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                                    Introduction

      David Blaszczak moves this Court for a severance from his co-defendants and
an adjournment of his trial date. Mr. Blaszczak moves on two separate,
independent grounds:

       First, severance is required to preserve Mr. Blaszczak’s Sixth Amendment
right to confront the witnesses against him. The government’s intention to
introduce proffer statements allegedly made by co-defendant Christopher Worrall
that incriminate Mr. Blaszczak would deprive him of his Sixth Amendment rights.
See Bruton v. United States, 391 U.S. 123 (1968). The nature of both the statements
at issue and the allegations in the indictment make it impossible to redact the
statements in a way that does not make it obvious that the original statements, as
recorded by the government, incriminated Mr. Blaszczak. See Gray v. Maryland,
523 U.S. 185 (1998); United States v. Taylor, 745 F.3d 15, 29 (2d Cir. 2014).

       The issue is further complicated because it seems likely, based on Mr.
Worrall’s filing yesterday, Docs. 157–58, that there will be a factual dispute at trial
between the government and Mr. Worrall about what was actually said by Mr.
Worrall in his proffer sessions. It is impossible for Mr. Worrall and the government
to present testimony from conflicting witnesses about what was said in the proffers
while also assuring that the testimony is properly “Brutonized” (even if that were
possible in the absence of such competing testimony).

       Second, severance and an adjournment of the trial date are necessary
because Mr. Blaszczak’s counsel cannot be adequately prepared to try this case on
April 2. The staggering amount of discovery (which continues to be produced) and
the recent advancing of the trial date by a week have made it impossible for Mr.
Blaszczak’s counsel to render effective assistance of counsel on the current schedule.

       At present the government has identified 24 fact witnesses, not including any
document custodians, whom it intends to call at trial and more than 1100 exhibits
that it intends to introduce. Given the volume of this evidence and the anticipated
defense case, it is not at all clear to us how this case can be tried in four weeks.
What is clear is that we will not be ready by April 2.

I.    The Bruton problems are insurmountable at a joint trial.

      A.      Procedural History

      Mr. Blaszczak first raised the Bruton issue in his October 27, 2017 pretrial
motions. We wrote:

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      The government has not produced to Mr. Blaszczak any statement that
      a codefendant may have made to law enforcement. Such a statement
      may be admissible against the codefendant who made the statement but
      would be inadmissible against Mr. Blaszczak under the Sixth
      Amendment’s Confrontation Clause and Federal Rules of Evidence 801–
      802. In the event that the government manifests an intent to admit any
      such statement at trial, Mr. Blaszczak reserves the right to move at that
      time for severance or other appropriate relief under Federal Rule of
      Criminal Procedure 14.

David Blaszczak’s Pretrial Motions, Doc. 73, at 21. The government did not respond
on this point in its written opposition or otherwise disclose to us whether or not it
intended to admit any such statement at that time.

       On February 9, 2018, the government produced in discovery FBI summary
reports (“302s”) and handwritten notes for three interviews agents had conducted of
Mr. Worrall: an uncounseled interview at his office in 2015 and two counseled
proffer sessions at the United States Attorney’s office in 2016, pursuant to a proffer
agreement with the government.

       After again noting the Bruton issue on the March 13 conference call with the
Court, Mr. Blaszczak’s counsel and Mr. Worrall’s counsel spoke with the
government to see whether it could be resolved. Two things became clear: First, the
government would take a very broad view of what arguments by Mr. Worrall’s
counsel would “open the door” to use of “inconsistent” statements made pursuant to
the proffer agreement. Second, there is a substantial factual dispute between Mr.
Worrall and the government as to what Mr. Worrall actually said during those
proffer sessions. Both parties are prepared to present evidence on that dispute,
which remains pending before the Court. This dispute is the subject of Mr. Worrall’s
March 21, 2018 Motion In Limine to Enforce Proffer Agreement, Doc. 157.

       On Friday, March 16, we identified for the government portions of Mr.
Worrall’s three statements, as recorded in the government’s 302s, that we believe
would violate Mr. Blaszczak’s Confrontation Clause rights if admitted into evidence
at a joint trial. Yesterday, March 21, the government responded with proposed
redactions of those statements. As discussed below, the government’s proposed
redactions are wholly inadequate and only underscore the need for a severance in
this case.




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       B.      Relevant Facts

       The superseding indictment alleges, among other things, an insider trading
conspiracy and substantive acts of insider trading in which confidential government
data was allegedly conveyed from Mr. Worrall, a government employee, to Mr.
Blaszczak, a health care industry consultant, who then allegedly used this
confidential information to make predictions about government rule and
reimbursement changes for two investment analysts, Theodore Huber and Robert
Olan, who then traded on the basis of those predictions. The chain of information
from Worrall to Blaszczak to Huber and Olan is the essence of the scheme alleged in
the indictment.

       The government has announced its intention to introduce at trial both (1) Mr.
Worrall’s uncounseled statements and (2), as rebuttal to Mr. Worrall’s defense that
he did not reveal specific confidential data, statements allegedly made by Worrall in
unsuccessful proffer sessions. Mr. Worrall disputes the substance of these
statements, but the government asserts that he made the following statements that
incriminate Mr. Blaszczak, among others:




                                                                        1


       These alleged statements all incriminate Mr. Blaszczak. He will have no
opportunity to cross-examine Mr. Worrall, whom we do not expect to testify at trial
and cannot subpoena. It is not possible to redact these statements in a way that will
not still obviously incriminate Mr. Blaszczak, because the crux of the charges is that
Mr. Worrall gave confidential information to Mr. Blaszczak, who used the
information to make predictions for Mr. Huber and Mr. Olan. Therefore, these
alleged statements incriminate Mr. Worrall only if they also incriminate Mr.
Blaszczak.




1The exhibit and the content of the statements is redacted from the publicly filed version of this
memorandum pursuant to this Court’s June 27, 2017 Protective Order. In addition, given the
publicity surrounding this case, pretrial public disclosure of the government’s version of disputed
statements could bring it to the attention of prospective jurors and witnesses, prejudicing the
defense.
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       Yesterday, the government provided us with proposed redactions that
demonstrate the impossibility of redacting these statements in a way that does not
obviously identify Mr. Blaszczak. The government proposes to replace Mr.
Blaszczak’s name with Mr. Worrall’s “former colleague who worked as a political
intelligence consultant,” “his political intelligence consultant friend,” and—with
reference to the October 2014 Wall Street Journal article reporting on the federal
investigation into Mr. Blaszczak—“his friend who has mentioned in the article.” The
government’s proposed redactions thus include such statements as “

                                                          ” These redacted
statements still immediately inculpate Mr. Blaszczak.

      C.     Introduction of codefendant Worrall’s proffer statements at a joint trial,
             even in redacted form, would violate Mr. Blaszczak’s
             Sixth Amendment right to confront the witnesses against him.

       The Confrontation Clause bars the admission of a non-testifying co-
defendant’s confession that incriminates the defendant. Crawford v. Washington,
541 U.S. 36 (2004); Gray v. Maryland, 523 U.S. 185 (1998); Bruton v. United States,
391 U.S. 123. In Bruton, 391 U.S. 135-36, the Supreme Court recognized that an
instruction limiting the use of the confession to prove only the guilt of the co-
defendant who made it is not sufficient to protect the defendant’s Sixth Amendment
rights because of the overwhelming likelihood that the jury will consider the
statement against the defendant. While such a confession may be redacted so that it
does not incriminate the defendant, the mere deletion of the defendant’s name or
substitution of neutral words is not sufficient if such a redaction leaves it obvious
that the confession referred to the defendant. Gray v. Maryland, 523 U.S. 185;
United States v. Taylor, 745 F.3d at 28.

       Redaction was sufficient in Richardson v. Marsh, 481 U.S. 200 (1987), for
example, because the statement had been redacted “to omit all reference to
[Marsh]—indeed, to omit all indication that anyone other than Martin and Williams
participated in the crime.” Id. at 203. Not so in Gray, however, where the redaction
simply replaced the defendant’s name with either a blank or the word “deleted.”
Gray, 523 U.S. at 196. The Supreme Court held that “redactions that replace a
proper name with an obvious blank, the word “delete,” a symbol, or similarly notify
the jury that a name has been deleted are similar enough to Bruton’s unredacted
confessions as to warrant the same result.” Id. The co-defendant’s references to “Me,
deleted, deleted, and a few other guys,” too clearly referred to the defendant and the
other participant, who had died. Id. at 188, 196. Gray distinguished the statement
in Richardson, which was redacted “to eliminate not only the defendant’s name, but
any reference to his or her existence”, and the statements in Gray, which “despite

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redaction, obviously refer directly to someone, often obviously the defendant.” Gray,
523 U.S. at 191-92, 196; Richardson, 481 U.S. at 211. A redaction is not sufficient if
it is so obvious that it leaves the statement “directly accusatory,” such that a juror
who wonders to whom the statement might refer “need only lift his eyes to [the
defendant], sitting at counsel table, to find what will seem the obvious answer.”
Gray, 523 U.S. at 194.

       The Second Circuit and other Circuits have approved redaction done in
“natural language” or “neutral words” only if it “sufficiently conceals the fact of
explicit identification to eliminate the overwhelming probability that a jury hearing
the confession at a joint trial will not be able to follow an appropriate limiting
instruction.” United States v. Jass, 569 F.3d 47, 61 (2d Cir. 2009). Not every
statement can be effectively redacted. A redaction that substitutes neutral words for
the defendant’s name still violates Bruton if it leaves no doubt as to the person to
whom the statement refers. The Second Circuit rejected such a redaction in United
States v. Taylor, 745 F.3d at 29, holding that substitution of the words “two other
individuals,” “the driver” and “the other person,” and “the other individuals” for the
two non-cooperating defendants’ names made it obvious that the statement had
contained actual names. Further, “once it becomes obvious that names have been
pruned from the text, the choice of implied identity is narrow. The unnamed
persons correspond by number (two) and by role to the pair of co-defendants.” Id.
“The jury could immediately infer, on the evidence of the redacted confession alone,
that Taylor had likely named the co-defendants.” Id.

       A neutral word or natural language redaction is more likely to be successful if
the confession refers to one or more others who are indistinguishable and the case
involves multiple defendants, rather than referring to one person who corresponds
to a particular co-defendant. Compare United States v. Lyle, 856 F.3d 191, 205 (2d
Cir. 2017)(“Lyle’s statements referred to multiple people–not only one unnamed
person to correspond to the one co-defendant” and the evidence established multiple
participants) and United States v. Straker, 800 F.3d 570, 599 (D.C. Cir.
2015)(where confessions referred to more than one unidentified person and there
were seven defendants and multiple uncharged co-conspirators, jury would not
inevitably link the references to any particular defendant) with Taylor, 745 F.3d at
29 (redaction violated Bruton where “the two unnamed persons corresponded by
number (two) and role to the pair of codefendants”) and Vasquez v. Wilson, 550 270,
281-82 (3rd Cir. 2008)(“[I]n a Gray analysis the number of persons involved is
significant,” and where the unidentified shooter in driver’s confession could only
have been the single alleged shooter on trial, neutral pronoun redaction was
ineffective under Bruton).



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       In this case, any redaction would necessarily leave it obvious that the
statement had named another person because the crux of the alleged statements—
and the crimes charged—is that Mr. Worrall gave confidential information to a
particular individual, who used that information to further trades. Therefore the
existence of that person cannot be redacted. And, just as in Taylor, 745 F.3d at 29,
“once it becomes obvious that [a] name[] has been pruned from the text, the choice
of implied identity is narrow.” The unnamed person corresponds by number and role
to the only person alleged to have received information from Mr. Worrall: Mr.
Blaszczak. The corresponding roles of Mr. Worrall and Mr. Blaszczak are set forth
in the charges of the indictment itself, so that any neutral reference to Mr.
Blaszczak “would ‘immediately’ inculpate [him] in the charged crime,” even if it
were “the very first item introduced at trial.” See Jass, 569 F.3d at 61. Unlike the
situation where the confessing defendant admits to committing a crime with “a few
other guys” but is independently guilty whether or not the “other guys”
participated, see id., at 59, Mr. Worrall’s statements could only incriminate him,
indeed are only relevant, if they refer to Mr. Blaszczak—whether camouflaged as a
“friend,” an “acquaintance,” “another person,” or in any other “natural language” or
“neutral word” form.

       Indeed the government's proposed redactions only reinforce the intractability
of the Bruton problems here. The extreme awkwardness of references like “former
colleague who worked as a political intelligence consultant,” “political intelligence
consultant friend,” and “friend who has mentioned in the article,” which are
repeated in stilted circumlocutions, make it obvious that a name has been replaced.
See Taylor, 745 F.3d at 29 (the “awkward” and “stilted circumlocutions” made it
obvious that the references were substituted). They are obvious stand-ins for Mr.
Blaszczak’s name. See United States v. Hoover, 246 F.3d 1054, 1059 (7th Cir. 2001)
(the substitution of “incarcerated leader” and “unincarcerated leader” for the two
defendants did not solve the Bruton problem because those terms were “obvious
stand-ins” for the names of the defendants). As the government knows, the
statements must in fact point to Mr. Blaszczak to have any relevance to the
government’s case.

      D.     If the codefendant’s incriminating statements could theoretically be
             redacted to satisfy Bruton, the redaction itself and the factual dispute
             at trial about the substance of those statements would inevitably
             prejudice Mr. Blaszczak.

       Other statements alleged to have been made by Mr. Worrall are of a more
equivocal nature and would make any redaction obvious to the jury for an
additional reason. The “neutral pronoun” or “natural language” redaction is based
on the premise that an effective redaction will use language that the confessing

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defendant would naturally have used if he wished to confess his guilt but shield his
confederates. See United States v. Taylor, 745 F.3d at 29; United States v. Starker,
800 F.3d 570, 598 (D.C. Cir. 2015). But some of Mr. Worrall’s statements are less in
the nature of a confession and more exculpatory in nature; they minimize his
disclosures and suggest that he resisted Mr. Blaszczak’s efforts to pry information
from him. It makes no sense in this context that Mr. Worrall would have tried to
shield Mr. Blaszczak by refusing to identify him.

      Even if effective redaction were possible, it would make these statements
seem more incriminating than they really are, and be prejudicial in a different way.
That is, if the jury were led to believe that Mr. Worrall was trying to shield Mr.
Blaszczak—the false narrative that the jury is supposed to believe under “natural
language” redaction—it could only conclude that Mr. Worrall considered his
statements to be very incriminating, more incriminating than they really are. Mr.
Worrall disputes the particulars of these statements as set forth by the government
and will in all likelihood contend at trial that the statements were in fact
exculpatory. See Christopher Worrall’s Memorandum of Law in Support of his
Motion to Enforce His Proffer Agreement, Doc. 158. The consciousness of guilt
demonstrated by his purported effort to “shield” Mr. Blaszczak—which is not even
true—would affect this factual dispute in the government’s favor, prejudicing both
defendants.

        In addition, the factual dispute at trial over what Mr. Worrall actually said in
his proffers will make it impossible to contain the redactions and preserve the
fiction that Mr. Worrall did not identify the person whom he allegedly “tipped.”
Mr. Worrall has moved to preclude or limit the use of his proffer statements at trial
on the ground that they do not contradict his defense. He contends that the
government’s version of those statements are incorrect and that his attorney’s notes
show that the statements differed meaningfully from those reported by government
agents. He has asked the Court to make a preliminary finding on the disputed
substance of the statements in order to decide whether any of them are actually
inconsistent with defense positions at trial. If the Court rules that any of these
statements are admissible, the substance of the statements will be challenged at
trial. On cross-examination, Mr. Worrall’s counsel will need to tease out in detail
the questions and answers of the proffer session, which will make it impossible to
preserve the redactions and protect Mr. Blaszczak’s rights under Bruton. In sum,
this unusual situation will make it impossible to admit the proffer statements and
protect the confrontation rights of both defendants.

II.   Mr. Blaszczak’s counsel cannot be prepared for the April 2 trial date.

        Counsel for Mr. Blaszczak will not be ready by April 2 to represent Mr.
Blaszczak effectively at trial on the superseding indictment. In June 2017 the
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Government estimated a two-to-three week trial, and the Court relied on that
estimate to schedule trial for April 9, 2018. For nine months all parties prepared
for trial on that date. Given the size and complexity of this case, the government
agreed to produce § 3500 material and exhibits to defense counsel 28 days in
advance, on March 12, 2018. Mr. Blaszczak’s attorneys at the Federal Defenders of
New York, who have enormous commitments to other clients, relied on these dates
in allocating limited resources, including numerous sentences and other court
appearances.

         Counsel were already struggling with the staggering amount of discovery
in this matter—more than 15 million documents—when the government filed its
superseding indictment on March 5. The superseder doubled the length of the
charged conspiracy from three to six years, bringing additional CMS rulemaking
cycles and a huge volume of additional communications within its ambit.

         On March 9, the government revised its trial estimate upward to four
weeks. On March 13, over Mr. Blaszczak’s objection, this Court advanced the trial
date by one week, to April 2, and jury selection by two weeks, to March 26.

          The government made a partial production of § 3500 material and exhibits
the evening of March 13 (totaling five bankers’ boxes of material) and produced
additional material later in the week. Almost every day since, the government has
produced additional material. The changes to the trial schedule mean that Mr.
Blaszczak has nine fewer days with these materials to prepare for trial, even as the
scope of the charged conspiracy has increased.

          Meanwhile, the government has provided a witness list of 24 fact
witnesses, including two cooperating witnesses and zero document custodians.
Given the government’s witness list and the anticipated defense case, it is not clear
to us how this case can be tried in four weeks. Despite our requests, the
government has refused to state whether it will actually call all of those witness or
to identify who it anticipates its first five witnesses will be.

         As counsel to Mr. Blaszczak, we have made extraordinary efforts to
grapple with these challenges and to be ready for trial by the April 2 date set by the
Court. But it has become apparent that we will simply not be ready to give Mr.
Blaszczak effective representation on the new schedule. If the other defendants can
be ready on April 2 and wish to proceed on that date, the Court should sever the
case against Mr. Blaszczak, including Counts 17 and 18 which charge Mr. Blaszczak
alone and which have been the subject of prior severance applications.




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                                   Conclusion

        For the foregoing reasons, we respectfully request that the Court sever Mr.
Blaszczak’s trial from the trial of his co-defendants and adjourn his trial date.


                                      Respectfully submitted,

                                     David Patton
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                                 By: /s/
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         EXHIBIT A
          Redacted
